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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

 CELLULAR COMMUNICATIONS
 EQUIPMENT LLC,

        Plaintiff,
                                        CIVIL ACTION NO. 6:14-cv-982-KNM
 v.                                     LEAD CASE

 LG ELECTRONICS, INC., ET AL.,

        Defendants.



  SONY MOBILE’S OPPOSITION TO PLAINTIFF’S MOTION TO DISMISS BREACH
       OF CONTRACT COUNTERCLAIMS BY CERTAIN MANUFACTURER
                            DEFENDANTS
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         Plaintiff Cellular Communications Equipment LLC (“CCE”), after serving a threadbare

 amended complaint with formulaic recitations of claim language, now argues in a three-page

 motion to dismiss that the detailed breach of contract counterclaim of Defendant Sony Mobile

 Communications (USA), Inc. (“Sony Mobile”) is somehow deficient. Sony Mobile’s

 counterclaim is grounded in the express commitment of CCE and/or its predecessors-in-interest

 to license the patents-in-suit on FRAND terms pursuant to the very same standards around which

 CCE has framed its infringement contentions. Sony Mobile’s counterclaim details the factual

 and legal basis for the contractual commitment as well as the bases for Sony Mobile’s allegations

 of breach. It passes muster under all relevant case law, including the Twombly pleading

 standard. CCE’s Motion to Dismiss Breach of Contract Counterclaims by Certain Manufacturer

 Defendants (Dkt. No. 169 (hereafter, “Mot.”)) should therefore be denied.
                                        LEGAL STANDARD
         A complaint must contain “a short and plain statement of the claim showing that the

 pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). To survive a motion to dismiss under

 Federal Rule of Civil Procedure 12(b)(6), a pleading “must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 554, 570 (2007)). A court

 “must assume that all well-pleaded facts are true, and view those facts in the light most favorable

 to the plaintiff.” TQP Dev., LLC v. Callidus Software Inc., No. 2:12-CV-799-JRG-RSP, 2013
 WL 4826011, at *1 (E.D. Tex. Sept. 9, 2013) (citing Bowlby v. City of Aberdeen, 681 F.3d 215,

 218 (5th Cir. 2012)). A party does not need to present “detailed factual allegations,” though

 mere “labels and conclusions” or “a formulaic recitation of the elements of a cause of action” are

 insufficient to meet the pleading standard. Iqbal, 556 U.S. at 678. A party “meets this standard

 when it ‘pleads factual content that allows the court to draw the reasonable inference that the

 defendant is liable for the misconduct alleged.’” O’Shea v. Parkey, No. 4:12-CV-265, 2014 WL

 494905, at *2 (E.D. Tex. Feb. 4, 2014) (quoting Iqbal, 556 U.S. at 678).




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           When applying this pleading standard, the Court considers “the complaint, any

 documents attached to the complaint, and any documents attached to the motion to dismiss that

 are central to the claim and referenced by the complaint.” Lone Star Fund V (U.S.), L.P. v.

 Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010). In reviewing these documents in

 response to a Rule 12(b)(6) motion to dismiss, “[t]he court’s task is to determine whether the

 plaintiff has stated a legally cognizable claim that is plausible, not to evaluate the plaintiff’s

 likelihood of success.” Id.

                                   STATEMENT OF THE FACTS

           On December 19, 2014,1 CCE filed its Original Complaint for Patent Infringement

 against Sony Mobile. (Civ. Action No. 6:14-cv-983, Dkt No. 1). CCE alleged that Sony Mobile

 infringed U.S. Patent Nos. 8,385,966 (“the ’966 Patent); 8,848,556 (“the ’556 Patent); and

 8,868,060 (“the ’060 Patent”). CCE also alleged that all three asserted patents were “standard

 essential” patents (collectively “the Alleged Standard Essential Patents”) that had been disclosed

 to the 3rd Generation Partnership Project (or “3GPP”) via the European Telecommunications

 Standards Institute (or “ETSI”), “an organizational member of 3GPP.” (Civ. Action No. 6:14-

 cv-983, Dkt No. 1 at ¶¶ 21, 35, 46). Further, CCE alleged that Sony Mobile was a 3GPP

 “member organization” or was “affiliated with a 3GPP member organization.” (Id.)

           On April 16, 2015, CCE filed its First Amended Complaint for Patent Infringement. (Dkt
 No. 29).2 The First Amended Complaint continued to assert all three Alleged Standard Essential

 Patents and to maintain that they were “standard essential.” (Id. at ¶¶ 20, 35, 46). CCE also

 continued to allege that Sony Mobile was a 3GPP member organization or was “affiliated with a

 3GPP member organization.” (Id.)

 1
    CCE alleges (Mot. at 2) that Sony Mobile has “participated in this lawsuit from as early as
 2013” and had “years” to formulate counterclaims. These statements are wrong on their face.
 Sony Mobile has nothing to do with the cases that CCE filed in 2013. Those cases concern
 entirely separate defendants and patents.
 2
     All subsequent citations to docket numbers refer to the lead 982 case.



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        Sony Mobile answered the First Amended Complaint on November 13, 2015. (Dkt. No.

 149.) In its accompanying counterclaims, Sony Mobile alleged that “[a]s a member of ETSI, and

 to comply with ETSI’s Intellectual Property Rights (‘IPR’) Policy, CCE and/or its predecessors

 represented to ETSI, ETSI members, and third parties that it would grant irrevocable licenses to

 the Alleged Standard Essential Patents on fair, reasonable, and non-discriminatory (‘FRAND’)

 terms and conditions.” (Id. at ¶ 38.) Sony Mobile also alleged that “CCE did not make an offer

 to license the Alleged Standard Essential Patents on FRAND terms to Sony Mobile prior to filing

 its Complaint for patent infringement.” (Id. at ¶ 42.) Accordingly, Sony Mobile asserted a

 breach of contract counterclaim based on ETSI’s IPR Policy and CCE’s (or its predecessors’)

 ETSI membership and activities, including any FRAND licensing declarations made to ETSI to

 comply with ETSI’s IPR Policy. (Id. at ¶¶ 36-46.)

        On December 7, 2015, CCE moved to dismiss Sony Mobile’s breach of contract

 counterclaim. (Dkt. No. 169.)
                                           ARGUMENT

 I.     SONY MOBILE’S BREACH OF CONTRACT COUNTERCLAIM IS
        ADEQUATELY PLEADED ON ITS FACE
        CCE advances two arguments for dismissing Sony Mobile’s counterclaim.

        First, CCE maintains that Sony Mobile fails to identify an “express and/or implied

 contract” between Sony Mobile and CCE. (Mot. at 3). CCE also alleges that even if such an

 express or implied contract existed between Sony Mobile and one of CCE’s predecessors, Sony
 Mobile fails to allege “why CCE is a proper party to sue” for breach of this contract. (Id.)

 However, CCE cherry picks one sentence from Sony Mobile’s pleading while ignoring the other

 nine paragraphs.

        Second, CCE asserts that Sony Mobile’s counterclaim is deficient because it does not

 plead Sony Mobile’s “performance or tendered performance,” which according to CCE is a

 required element of a breach of contract claim. (Mot. at 3). CCE’s arguments are contrary to
 established law concerning FRAND obligations.



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           When read as a whole (as opposed to CCE’s misleading excerpt), Sony Mobile’s breach

 of contract counterclaim includes more than sufficient factual detail to state a plausible – indeed,

 compelling – claim for relief. Iqbal, 556 U.S. at 678; see also BMC Software, Inc. v.

 ServiceNow, Inc., Case No. 2:14-CV-903, 2015 U.S. Dist. LEXIS 64366, at *8-10 (E.D. Tex.

 May 18, 2015) (denying three motions to dismiss under Rule 12(b)(6) because the pleadings

 were “sufficiently plausible”).

           A.     Licensing Declarations Made by CCE’s Predecessors-in-Interest
                  Constitute Express or Implied Contracts Between CCE and Sony Mobile
           CCE’s motion to dismiss Sony Mobile’s breach of contract counterclaim turns on one

 sentence that CCE isolates and inexplicably characterizes as Sony Mobile’s purported “best

 attempt” at pleading the counterclaim. (Mot. at 2-3). Yet Sony Mobile provided ten paragraphs

 of detailed factual allegations in its pleading supporting this counterclaim. (Dkt. No. 149 at ¶¶

 37-46.)

           Sony Mobile pleaded that the contract in question arises from the ETSI IPR Policy and

 reflects FRAND licensing commitments that CCE and/or its predecessors-in-interest made to

 ETSI and its members regarding the Alleged Standard Essential Patents.3 More specifically,

 Sony Mobile also pleaded that the licensing declarations “represented to ETSI, ETSI members,

 and third parties that it would grant irrevocable licenses to the Alleged Standard Essential Patents
 on fair, reasonable, and non-discriminatory (‘FRAND’) terms and conditions” with respect to the

 very same ETSI standards that are at the heart of CCE’s infringement contentions. (Id. at ¶ 38.)




 3
    As described above, CCE asserts in its own pleadings that all three of the patents CCE asserts
 against Sony Mobile are “standard essential patents” disclosed to 3GPP and its member
 organizations via ETSI. (Dkt. No. 29 at ¶¶ 20, 35, 46) In fact, CCE relies on these disclosures
 as evidence that Sony Mobile allegedly had actual knowledge of these patents. (Id.) As the
 licensing declarations produced in this case by CCE confirm, each of these patents was expressly
 the subject of a FRAND licensing commitment made by CCE’s predecessor to ETSI in
 accordance with the ETSI IPR Policy. Ex. A (June 21, 2011 Declaration) (’966 Patent); Ex. B
 (Oct. 26, 2012 Declaration) (’556 Patent); Ex. C (Dec. 14, 2010 Declaration) (’060 Patent).



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 Sony Mobile—as an affiliate of an ETSI member and/or third party—is an express or implied

 party4 to the irrevocable licensing declarations, which, as Sony Mobile pleaded, “are permanent,

 and cannot be revoked by sale of the patent.” (Id. at ¶ 41.) CCE breached those obligations by

 failing to “make an offer to license the Alleged Standard Essential Patents on FRAND terms to

 Sony Mobile prior to filing its Complaint for patent infringement” and by seeking more than a

 FRAND royalty in its prayer for relief. (Id. at ¶¶ 42-44.)

        CCE ignores these details of the contractual obligations and instead cites only a single

 overview sentence. Sony Mobile in fact alleged in detail:
        CCE and/or its predecessors ETSI membership and activities, including the
        declarations it made to comply with ETSI’s IPR policy for the Alleged Standard
        Essential Patents, created an express and/or implied contract with ETSI and/or
        ETSI members including an agreement that CCE and/or its predecessors would
        license those patents on FRAND terms and conditions.

 (Id. at ¶ 39 (emphasis added).) Further, Sony Mobile alleged that “[u]nder ETSI’s IPR Policy,

 third parties that are not ETSI members also have the right to be granted licenses under those

 patents on FRAND terms and conditions. (Id. at ¶ 40.)

        Assuming the foregoing assertions are true—as the Court must on a motion to dismiss—

 Sony Mobile has sufficiently pleaded that a valid express and/or implied contract exists between

 CCE and Sony Mobile through the licensing declarations submitted by CCE (or its predecessors-
 in-interest) concerning the Alleged Standard Essential Patents and that these declarations

 obligate CCE to provide Sony Mobile a FRAND license to the Alleged Standard Essential

 Patents. Several district and circuit courts have found that similar FRAND licensing declarations

 create contractual obligations. E.g., Realtek Semiconductor Corp. v. LSI Corp., 946 F. Supp. 2d

 998, 1005 (N.D. Cal. 2013) (“There is no dispute in this case that defendants entered into a

 binding contract with the [standards-setting organization] to license their declared standard-

 essential patents … on RAND terms, and that Realtek is a third party beneficiary to that

 4
    Even if Sony Mobile were not an express party to the licensing declarations, it was at least an
 intended third-party beneficiary to those declarations. See § I(C), infra.



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 contract.”); Apple Inc. v. Samsung Elecs. Co., Case No. 11-CV-01846, 2012 U.S. Dist. LEXIS

 67102 at *40-44 (N.D. Cal. May 14, 2012); Microsoft Corp. v. Motorola, Inc., 864 F. Supp. 2d

 1023, 1036-39 (W.D. Wash. 2012), aff’d, 795 F.3d 1024 (9th Cir. 2015); Apple, Inc. v. Motorola

 Mobility, Inc., Case No. 11-CV-178, 2011 U.S. Dist. LEXIS 72745 at *22-33 (W.D. Wis. June 7,

 2011); see also United States Department of Justice and United States Patent & Trademark

 Office, “Policy Statement on Remedies for Standards-Essential Patents Subject to Voluntary

 F/RAND Commitments” (January 8, 2013) at 7, n.14 (Ex. D).

        The sole case (Castillo v. Ocwen Loan Servicing) that CCE cites granting a motion to

 dismiss a contract claim is inapposite and indeed has nothing to do with licensing obligations.

 In Castillo, the plaintiff relied on the doctrine of partial performance of a contract that did not

 satisfy the statute of frauds and was hence invalid. 539 F. App’x 621, 624 (5th Cir. 2013). The

 Castillo court merely reiterated that the existence of a valid contract is a required element to any

 breach of contract claim. Here, Sony Mobile has pleaded sufficient facts to allow this Court to

 draw the “reasonable inference” that CCE has plausibly breached its obligation—by “more than

 a sheer possibility”—to license the Alleged Standard Essential Patents on FRAND terms. BMC

 Software, 2015 U.S. Dist. LEXIS 64366, at *2-3 (quoting United States v. Bollinger Shipyards,

 Inc., 775 F.3d 255, 260 (5th Cir. 2014)).

        B.      CCE is Bound by the Licensing Declarations of Its Predecessors
        Sony Mobile also adequately pleaded the factual basis indicating why CCE—the

 purported current owner of the Alleged Standard Essential Patents—is the proper party to sue for

 breaching this contractual commitment. As the counterclaim emphasizes, “[w]hen a patent is

 declared as a Standard Essential Patent, the commitments made with regard to the declared

 patent are permanent, and cannot be revoked by sale of the patent.” (Dkt. No. 149 at ¶ 41).

 In other words, the contractual obligations associated with the licensing declarations bind all

 successors-in-interest and current owners of the Alleged Standard Essential Patents.




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        CCE, as the purported current owner of the Alleged Standard Essential Patents, is

 therefore also obligated to license these patents on FRAND terms because assignees “take[ ] a

 patent subject to the legal encumbrances thereon.” Datatreasury Corp. v. Wells Fargo & Co.,

 522 F.3d 1368, 1372–72 (Fed. Cir. 2008). Sony Mobile has therefore pleaded sufficient facts to

 state a plausible claim for relief against CCE, as the successor-in-interest and purported current

 owner of the Alleged Standard Essential Patents.

        C.      Performance or Tendered Performance Has Been Adequately Pleaded

        CCE’s argument regarding Sony Mobile’s failure to plead “performance or tendered

 performance” (Mot. at 3) also misses the mark. Lacking any supporting case law, CCE baldly

 asserts that Sony Mobile “must allege the tender of [its] willingness to license CCE patents on

 FRAND terms.” CCE misunderstands the nature of the underlying licensing declarations. As

 explained in Sony Mobile’s counterclaim, the declarations contain promises that “CCE and/or its

 predecessors would license [the alleged standard essential] patents on FRAND terms and

 conditions” to both ETSI members and non-members alike. (Dkt. No. 149 at ¶¶ 39-41.) Sony

 Mobile is therefore entitled to FRAND licenses for the Alleged Standard Essential Patents. CCE

 breached its commitment at least when it filed this lawsuit without even offering a FRAND

 license and sought damages in excess of FRAND terms. See, e.g., Realtek, 946 F. Supp. 2d at

 1005 (instigating an ITC Section 337 action prior to offering a FRAND license is a breach of a
 FRAND licensing declaration). Indeed, as CCE’s own complaint acknowledges, Sony Mobile is

 “affiliated with a 3GPP member organization.” (Dkt. No. 29 at ¶¶ 20, 35, 46). This affiliation

 constitutes the requisite performance under the contract. All third parties, including those who

 implement the ETSI technical specification or standard under which the Alleged Standard

 Essential Patents are declared essential, are also entitled to a FRAND license.




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        As an intended third-party beneficiary to the licensing declarations made to ETSI, Sony

 Mobile is also eligible to sue to enforce the declarations. See Apple Inc. v. Samsung Elecs. Co.,

 2012 U.S. Dist. LEXIS 67102 at *41-42 (third party may sue to enforce ETSI licensing

 declarations under a third-party beneficiary contract theory); Realtek, 946 F. Supp. 2d at 1005

 (same as applied to IEEE licensing declarations). Under this theory, ETSI tendered performance

 under the contract when it accepted the declarations under the terms of the ETSI IPR Policy. See

 Apple, Inc. v. Motorola, Inc., 869 F. Supp. 2d 901, 914 (N.D. Ill. 2012) (standard essential patent

 owner “agreed to license its standards-essential patents on FRAND terms as a quid pro quo for

 their being declared essential to the standard”).

        Sony Mobile has thus adequately pleaded “performance or tendered performance” under

 both a third-party beneficiary and an express or implied contract theory.

        Contrary to CCE’s unsupported assertions, there is no requirement to negotiate or ask for

 a FRAND license before a breach of a FRAND commitment occurs. See Microsoft Corp. v.

 Motorola, Inc., 864 F. Supp. 2d at 1035 (negotiation of a FRAND license is not a condition

 precedent to a patent owner’s FRAND obligations); see also Apple, Inc. v. Motorola, Inc., 869 F.

 Supp. 2d at 914 (agreements to license on FRAND terms are not “conditioned [] on prospective

 licensees’ making counteroffers in license negotiations”).

        Instead, CCE breached its FRAND obligations by filing the present lawsuit without first
 offering Sony Mobile the FRAND license to which it was entitled. Realtek, 946 F. Supp. 2d at

 1005. Sony Mobile’s counterclaim makes this clear: “CCE did not make an offer to license the

 Alleged Standard Essential Patents on FRAND terms to Sony Mobile before filing its Complaint

 for patent infringement …. CCE’s conduct…constitutes a breach of its contractual obligations to

 ETSI and/or ETSI members and deprives third parties of their right to be granted FRAND

 licenses under the Alleged Standard Essential Patents.” (Dkt. No. 149 at ¶¶ 42, 44.) Sony

 Mobile’s breach of contract counterclaim therefore includes more than sufficient factual detail to

 state a “sufficiently plausible” claim for breach of contract. Iqbal, 556 U.S. at 678; BMC
 Software, 2015 U.S. Dist. LEXIS 64366, at *8-10.


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 II.    THE DOCUMENTS REFERENCED IN THE COMPLAINT PROVIDE
        ADDITIONAL FACTUAL SUPPORT FOR THE BREACH OF CONTRACT
        COUNTERCLAIM

        Given that Sony Mobile’s counterclaim referenced the ETSI IPR Policy and licensing

 declarations, these documents must also be considered when assessing the sufficiency of Sony

 Mobile’s pleading. Lone Star Fund, 594 F.3d at 387. These documents provide further factual

 support for Sony Mobile’s breach of contract counterclaim.

        Each of the licensing declarations made by Nokia Siemens Networks (CCE’s

 predecessor-in-interest) states that the declarant is “prepared to grant irrevocable licenses…on

 terms and conditions which are in accordance with Clause 6.1 of the ETSI IPR Policy.” (Ex. A

 at 1; Ex B at 1; Ex. C at 2.) Clause 6.1 of the ETSI IPR Policy explains that when a patent is

 identified to ETSI as “essential,” the patent owner will be immediately requested to give “an

 irrevocable undertaking in writing that it is prepared to grant irrevocable licenses on fair,

 reasonable and non-discriminatory (‘FRAND’) terms and conditions.” (Ex. E at § 6.1.) ETSI’s

 IPR Policy also requires that “FRAND licensing undertakings made pursuant to Clause 6 shall be

 interpreted as encumbrances that bind all successors-in-interest,” like CCE. (Id. at § 6.1bis

 (emphasis added).) On their face, therefore, the ETSI IPR Policy and licensing declarations can

 be reasonably interpreted to create an express and/or implied contract between CCE (i.e., the

 successor-in-interest to the Alleged Standard Essential Patents), and Sony Mobile (i.e., affiliated

 with an ETSI member). (See also id. at § 12 (explaining that rights and obligations under the

 ETSI IPR Policy are of “a contractual nature”).) These documents, along with the pleadings

 contained within Sony Mobile’s counterclaim, include more than sufficient factual detail to state

 a “sufficiently plausible” claim for relief for breach of contract. Iqbal, 556 U.S. at 678; BMC

 Software, 2015 U.S. Dist. LEXIS 64366, at *8-10.

                                           CONCLUSION
        For the foregoing reasons, CCE’s Motion to Dismiss should be denied.




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 Dated: December 24, 2015           Respectfully submitted by,

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                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was filed
 electronically in compliance with Local Rule CV-5 on this December 24, 2015. As of this date
 all counsel of record have consented to electronic service and are being served with a copy of
 this document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).

                                      /s/ Michael N. Rader
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